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 5   Attorney for Defendant
     CARLOS E. KEPKE
 6

 7

 8                                 UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                    SAN FRANCISCO DIVISION
11

12   UNITED STATES OF AMERICA,                        Case No. 3:21-CR-0155-JD
13                    Plaintiff,                      PROOF OF SERVICE
14          v.
15   CARLOS E. KEPKE,
16                    Defendant.
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                              PROOF OF SERVICE - CASE NO. 3:21-CR-00155-JD
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 1                                        PROOF OF SERVICE

 2          At the time of service I was over 18 years of age and not a party to this action. My
     business address is: Three Embarcadero Center, San Francisco, California 94111.
 3
           On August 8, 2022, I caused the following document(s) to be served on the person(s)
 4   below As follows:

 5   UNREDACTED CARLOS KEPKE’S NOTICE OF MOTION AND MEMORANDUM OF
      POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO EXCLUDE, OR IN THE
 6    ALTERNATIVE, TO LIMIT CERTAIN OPINIONS AND TESTIMONY OF BRUCE G.
 7                                DUBINSKY

 8                                    UNREDACTED EXHIBIT 1

 9

10      Christopher Magnani                                               Counsel for Plaintiff: USA
        U.S. DEPARTMENT OF JUSTICE                                               Tel.: 202-307-6408
11      TAX DIVISION                                         Email: Christopher.magnani@usdoj.gov
        Western Criminal Enforcement Section
12      Ben Franklin Station
        PO Box 972
13      Washington, DC 20044

14      Michael G. Pitman                                                 Counsel for Plaintiff: USA
        UNITED STATES ATTORNEY’S                                                 Tel.: 408-535-5040
15      OFFICE                                                     Email: Michael.pitman@usdoj.gov
        150 Almaden Blvd., Suite 900
16      San Jose, CA 95113

17      Boris Bourget                                                    Counsel for Plaintiff: USA
        DOJ- TAX                                                                  Tel.: 202-307-2182
18      TAX DIVISION                                                   Email: corey.smith@usdoj.gov
        150 M Street NE, Ste. 2.603
19      Washington, DC 20002

20      Corey J. Smith                                                   Counsel for Plaintiff: USA
        DEPARTMENT OF JUSTICE                                                     Tel.: 202-514-5230
21      TAX DIVISION                                                   Email: corey.smith@usdoj.gov
        150 M Street NW, Room 2.208
22      Washington, DC 20004

23

24        (E-MAIL or ELECTRONIC TRANSMISSION) By electronic service on August 8,
         2022. Based on a court order or an agreement of the parties to accept electronic
25        service, I caused the document(s) to be sent to the person(s) at the electronic service
          address(es) listed above.
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                                                     2
                              PROOF OF SERVICE - CASE NO. 3:21-CR-00155-JD
         Case 3:21-cr-00155-JD Document 65 Filed 08/08/22 Page 3 of 3



 1          I declare under penalty of perjury under the laws of the State of California that the
     foregoing is true and correct.
 2
            Executed on August 8, 2022, at San Francisco, California.
 3
                      Roland Chang                                         /s/ Roland Chang
 4                 (Type or print name)                                        (Signature)
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                              PROOF OF SERVICE - CASE NO. 3:21-CR-00155-JD
